                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI

                            CRIMINAL CASE COVER SHEET
 Division of Filing                       Place of Offense                   Matter to be Sealed
   Western                  St. Joseph    Jackson                               Secret Indictment
   Central                  Southern      County and                            Juvenile
                                          elsewhere
   Southwestern
Defendant Information
Defendant Name               Cynthia Lene (08)
Alias Name
Birthdate                    January 11, 1993

Related Case Information
Superseding Indictment/Information     Yes         No if yes, original case number 23-CR-00272-SRB
New Defendant                           Yes        No
Prior Complaint Case Number, if any
Prior Target Letter Case Number, if any

U.S. Attorney Information
AUSA Joseph M. Marquez

Interpreter Needed
   Yes       Language and/or dialect
  No

Location Status
Arrest Date
  Currently in Federal Custody
  Currently in State Custody                            Writ Required            Yes       No
  Currently on Bond                                     Warrant Required         Yes       No

U.S.C. Citations
Total # of Counts      1
 Set     Index Key/Code/Offense Level         Description of Offense Charged               Count(s)
                                              Conspiracy to Distribute
   1     21:841A=CD.F/6801/4                                                                    1
                                              Methamphetamine and Fentanyl
   2
   3
                                     (May be continued on reverse)


Date   6/27/2023                              Signature of AUSA         /s/ Joseph M. Marquez
